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                           GERSTMAN ScHWARTZ LLP
                                       ATTORNEYS                     AT     LAW




                                                 October 30, 2020

VIA CM/ECF & EMAIL
The Honorable Victor Marrero (chambersnysdmarrero(cv,nysd.uscourts. gov)
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

       Re: National Coalition on Black Civil Participation et al. v. Wohl et al. , United States
          District Court, Southern District of New York, Case No. 1:20-cv-08668

Dear Judge Marrero:

      As a follow up to this morning ' s call , and in accordance with this Court's directive,
Defendants ' Counsel conferred with Plaintiffs ' counsel.

        Plaintiffs ' counsels' position is that the Court ' s order inset below should not be modified.

                 ORDERED that Defendants shall send, or authorize an appropriate
                 third party to send, a robocall message (the " Curative Message")
                 informing the recipients of the original robocall message discussed
                 in this Decision and Order (the " Prior Robocall") of this Court's
                 findings regarding that call. The Curative Message shall be issued
                 to all recipi ents of the Prior Robocall and shall state only the
                 following:

                 " At the direction of a United States district court, this call is intended
                 to inform you that a federal court has found that the message you
                 previously received regarding mail-in voting from Project 1599, a
                 political organization founded by Jack Burkman and Jacob Wohl,
                 contained false information that has had the effect of intimidating
                 voters, and thus interfering with the upcoming presidential election,
                 in violation of federal voting-rights laws. "

       Without rehashing objections made on the record, Defendants' counsels' position is
that in order to comply with the Court's order, the following modification should be
considered by the court. We would note that Your Honor has indicated a willingness to
consider such changes and thank you for same:

        " At the direction of a United States district court, this call is intended to inform you that a
federal court has found that the message you previously received regarding mail -in votin g from




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    1399 Franklin Ave nue, Suite 200, Gard en C ity, N .Y. 11 53 0   OFFICE :   5 16.880 .8 170   FAX:   5 16.880 .8 17 1
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                                ATTORN        E YS     AT      LAW




Project 1599, a political organization founded by Jaek Burkman and Jaeob ·wohl, contained
false information that has had the effect of intimidating voters, and thus interfering with the
upcoming presidential election, in violation of federal voting-rights laws. "

        This is generally fe lt to be less prejudicial. Thank you in advance for considering this
request. In the interim, our office is identifying Robocall companies. Please advise.



                                     Respectfully Submitted,

                                      Isl David M Schwartz

                                      Isl Randy E. Kleinman

cc:    All co unse l of record (via ECF)




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